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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                             Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                       PLAINTIFFS’ SUPPLEMENTAL
19    COUNTY AND MUNICIPAL EMPLOYEES,                    EVIDENCE IN ADVANCE OF
      AFL-CIO, et al.,                                   MARCH 13, 2025 HEARING
20
               Plaintiffs,
21
          v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

26
27

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     Plaintiffs’ Supplemental Evidence in Advance of March 13, 2025 Hearing, No. 3:25-cv-01780-WHA
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 1                  PLAINTIFFS’ SUPPLEMENTAL EVIDENCE IN ADVANCE OF
                                  MARCH 13, 2025 HEARING
 2

 3         Plaintiffs submit the following evidence in advance of the scheduled hearing on March 13, 2025:
 4
      Supplemental Declaration of Kory Blake
 5
      Declaration of Yvette Piacsek
 6

 7
     DATED: March 11, 2025                        Respectfully submitted,
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     Plaintiffs’ Supp. Evidence in Advance of March 13, 2025 Hearing, No. 3:25-cv-01780-WHA          1
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     Plaintiffs’ Supp. Evidence in Advance of March 13, 2025 Hearing, No. 3:25-cv-01780-WHA              2
